                                                                                                       FILED
                                                                                              2021 Dec-08 PM 05:10
                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA




                               UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                    SOUTHERN DIVISION



------------------------------------------------------x
                                                      x   MDL No. 2406
In re Blue Cross Blue Shield                          x
Antitrust Litigation                                  x   Master File No. 2:13-cv-20000-RDP
                                                      x
------------------------------------------------------x

               ALASKA AIR MOVANTS’ POST FAIRNESS HEARING BRIEF
                                                     TABLE OF CONTENTS

I. Introduction ..............................................................................................................................1

II. Reclassifying the QNA Injunctive Relief from a (b)(2) Class to the
    (b)(3) Class as Clarified by the Court Resolves Several Issues............................................1

      A. The Meaning of the Term “Relief” in the Final Sentence ............................................4

      B.      The Meaning of “indivisible injunctive relief approved by
              the court.” ........................................................................................................................5

      C.       Final Approval of the Settlement Should Contain No Limitations Against
               Opt-Outs Other than Prohibiting Infringement on the Approved Rule 23(b)(2)
               Indivisible Injunctive Relief ..........................................................................................9

III. The Court Does Not Need to Decide whether Defendants’ Going-Forward Market
     Allocation Is Per Se Illegal .................................................................................................14

IV. Defendants Are Not Entitled to a Ruling that their Going-Forward Market
    Allocation Is Not Per Se Unlawful ......................................................................................18

        A.      Defendants’ Proffered Procompetitive Justification Does Not Allow Them to
                Avoid the Per Se Rule .................................................................................................19

         B.     Defendants’ Procompetitive Justification Is Based on
                Disputed or Rejected Facts .......................................................................................22

         C.      Defendants’ Common Law Trademark Argument Cannot Avoid the Per Se
                 Rule.............................................................................................................................25

V.     The Significance of Delta Dental .........................................................................................28


Conclusion ....................................................................................................................................31




                                                                         i
                                            TABLE OF AUTHORITIES


1-800 Contacts, Inc. v. FTC, 1 F.4th 102 (2d Cir. 2021) ...............................................................27

Alabama v. U.S. Army Corps of Engineers, 424 F.3d 1117 (11th Cir. 2005)........................5, 6, 11

AMG Cap. Mgmt., LLC v. Fed. Trade Comm'n, 141 S. Ct. 1341 (2021) ........................................5

American Needle, Inc. v. NFL, 560 U.S. 138 (2010) ...............................................................18, 28

Arizona v. Maricopa Cnty. Med. Soc’y, 457 U.S. 332 (1982) .......................................................19

Arrington v. Burger King Worldwide, Inc., No. 20-13561 ............................................................18

Augusta News Co. v. Hudson News Co., 269 F.3d 41 (1st Cir. 2001) ............................................20

Bennett v. Behring Corp., 737 F.2d 982 (11th Cir. 1984) ........................................................15, 17

Bennett v. Behring Corp., 96 F.R.D. 343 (S.D. Fla. 1982) ............................................................16

Broadcast Music, Inc. v. Columbia Broad. Sys., Inc., 441 U.S. 1 (1979) ...............................20, 30

Butzen v. Mid-States Exp., Inc., No. 07 C 5716, 2008 WL 515165 (N.D. Ill. Feb. 25, 2008) ......10

C.G.B. v. Wolf, 464 F.Supp.3d 174 (D.D.C. 2020)..........................................................................6

Castañeda Juarez v. Asher, 2020 WL 6434907 (W.D. Wash. July 6, 2020) ..................................6

Catalano, Inc. v. Target Sales, Inc., 446 U.S. 643 (1980) .............................................................19

Cholakyan v. Mercedes-Benz, USA, LLC, 281 F.R.D. 534 (C.D. Cal. 2012) ..................................6

Clorox Co. v. Sterling Winthrop, Inc., 117 F.3d 50 (2d Cir. 1997) ...............................................27

Cont'l T. V., Inc. v. GTE Sylvania Inc., 433 U.S. 36 (1977) ..........................................................25

Crown, Cork & Seal Co. v. Parker, 462 U.S. 345 (1983) .............................................................10

Faught v. Am. Home Shield Corp., No. 2:07-CV-1928-RDP, 2010 WL 10959223
(N.D. Ala. Apr. 27, 2010), aff'd, 668 F.3d 1233 (11th Cir. 2011) ...........................................10, 11

FTC v. Actavis, 570 U.S. 136 (2013) .............................................................................................25

Grunin v. Int’l House of Pancakes, 513 F.2d 114 (8th Cir. 1975)......................................15, 16, 17



                                                                ii
In re Blue Cross Blue Shield Antitrust Litig., 2018 U.S. Dist. LEXIS 113563 .............................28

In re Delta Dental Antitrust Lit., 484 F. Supp. 3d 627 (N.D. Ill. 2020) ..................................29, 30

In re Inter-Op Hip Prosthesis Liab. Litig., 204 F.R.D. 330 (N.D. Ohio 2001) .............................10

Int’l Longshoremen’s Ass’n, Loc. 1291 v. Phila. Marine Trade Ass’n,
389 U.S. 64 (1967) ...........................................................................................................................3

Jeff. Parish Hosp. v. Hyde, 466 U.S. 2 (1984) ...............................................................................15

Jennings v. Rodriguez, 138 S.Ct. 830 (2018) ..................................................................................6

Klay v. United Healthgroup, Inc., 376 F.3d 1092 (11th Cir. 2004) ................................................11

LabMD, Inc. v. Fed. Trade Comm’n, 894 F.3d 1221 (11th Cir. 2018).........................................5, 8

Leegin Creative Leather Prod., Inc. v. PSKS, Inc., 551 U.S. 877 (2007)................................19, 21

Lucas v. Bolivar Cty., Miss., 756 F.2d 1230 (5th Cir. 1985) ............................................................8

Matsushita Elec. Indus. Co. v. Epstein, 516 U.S. 367 (1996)........................................................10

NCAA v. Bd. of Regents of Univ. of Okla., 468 U.S. 85 (1984) ...............................................20, 30

Palmer v. B.R.G. of Ga., Inc., 498 U.S. 46 (1990) ..................................................................21, 31

Polk Bros., Inc. v. Forest City Enters., Inc., 775 F.2d 185 (7th Cir. 1985) ....................................20

Procaps S.A. v. Pantheon, Inc., 845 F.3d 1072 (11th Cir. 2016) ...................................................25

Quality Auto Painting v. State Farm Indem. Co., 870 F.3d 1262 (11th Cir. 2017),
rev’d on other grounds, 917 F.3d 1249 (11th Cir. 2019) ...............................................................20

Robertson v. NBA, 556 F.2d 682 (2d Cir. 1977) ......................................................................16, 26

Schmidt v. Lessard, 414 U.S. 473 (1974) ........................................................................................3

Sec. & Exch. Comm’n v. Graham, 823 F.3d 1357 (11th Cir. 2016) .................................................5

Tennessee Valley Auth. v. Long, No. 4:12-CV-704-VEH, 2013 WL 387933
(N.D. Ala. Jan. 18, 2013) .................................................................................................................6

Ulstein Mar., Ltd. V. United States, 833 F.2d 1052\ (1st Cir. 1987) ........................................5, 8, 9

United States v. Oregon State Med. Soc., 343 U.S. 326 (1952) ......................................................6

                                                                     iii
U.S. v. Cadillac Overall Supply Co., 568 F.2d 1078 (5th Cir. 1978) .................................18, 20, 21

U.S. v. Goodman, 850 F.2d 1473 (11th Cir. 1988) .........................................................................21

U.S. v. Sealy, 398 U.S. 350 (1967) ..............................................................................22, 27, 28, 31

U.S. v. Topco Assoc., 405 U.S. 596 (1972) ............................................................................ passim

U. S. Steel Corp. v. United Mine Workers of Am., 519 F.2d 1236 (5th Cir. 1975) ..........................5

Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011) .........................................................4, 6, 8, 9

West Virginia v. Chas. Pfizer & Co., 440 F.2d 1079 (2d Cir. 1971) .............................................16

Zenith Radio Corp. v. Hazeltine Rsch., Inc., 395 U.S. 100 (1969) ..................................................6




                                                              iv
    I.       Introduction

          The Alaska Air Movants1 (“Movants” or “Opt-Outs”) respectfully submit this

supplemental brief to address two issues arising out of the Fairness Hearing: (i) re-classifying the

injunctive relief for certain qualified national accounts (“QNA Injunctive Relief”) from the (b)(2)

class to the (b)(3) class; and (ii) approving the class settlement without deciding the merits of

whether Defendants’ continued market allocation constitutes a per se violation.

          The Opt-Outs seek confirmation in any final approval order that they may separately pursue

their antitrust claims, including their per se claims, for their own damages and divisible injunctive

relief. To this end, the Opt-Outs request that the Court: (a) clarify that the only restriction on the

relief the Opt-Outs may pursue is the prohibition on seeking injunctive relief that infringes upon

the Rule 23(b)(2) indivisible injunctive relief approved by the Court; (b) affirm the Court’s

statements during the Fairness Hearing that opt-outs are not releasing or waiving any claim; and

(c) refrain from deciding whether Defendants’ going-forward market allocation is per se illegal.

Such clarifications/confirmations would allow the Opt-Outs to withdraw their motion and

objections to the Settlement Agreement.2

    II.      Re-Classifying the QNA Injunctive Relief from the (b)(2) Class to the (b)(3) Class
             as Clarified by the Court Resolves Several Issues

          The Opt-Outs timely excluded themselves from the Rule 23(b)(3) damages settlement

class, and they moved to be excluded from the injunctive relief class. ECF 2812-6, 2812-19. The

primary reason for these exclusion requests was the continued harm to the Opt-Outs resulting from

Defendants’ unlawful market allocation of national accounts. Id. at 14-20. Thus, the settlement


1
          A complete definition of Opt-Outs or Movants can be found at ECF 2812-19, p. 1, n.1.
2
        In addition, the Opt-Outs incorporate by reference Section III of Home Depot USA, Inc.’s
Renewal of Objections and Post Hearing Brief (Dec. 8, 2021) and otherwise join in the remainder
of that brief as well.
                                                  1
proponents’ announcement at the Fairness Hearing that the injunctive relief designed to address

that market allocation, the QNA Injunctive Relief or Second Blue Bid (“SBB”), would be re-

classified and moved from the non-opt-out (b)(2) injunctive relief class to the (b)(3) opt-out class

was welcome news to the Opt-Outs. Tr. I-26 (Class Counsel: “we agree with the Court that it is

better that this relief be in a (b)(3) class than in a (b)(2) class”).

        While the settlement proponents have not tendered a revised Settlement Agreement or

proposed final approval order, the Court has provided the parties with a preview of potential

language that may be used to implement this change in the final approval order:

        A Rule 23(b)(3) opt out reserves the right to pursue divisible relief including
        monetary relief and divisible injunctive relief. Divisible injunctive relief may
        include the right to pursue in litigation a Second Blue Bid. The parties acknowledge
        that, based on a claimant’s individual business and the facts and circumstances of
        the claims, a Rule 23(b)(3) opt out may pursue divisible injunctive relief that
        includes possible additional Blue bids. Whether such a remedy is merited will
        depend on the circumstances surrounding the individual claimant’s claim.
        However, the relief pursued by a Rule 23(b)(3) opt out may not infringe on the Rule
        23(b)(2) indivisible injunctive relief approved by the court.

Tr, II-78.

        The Opt-Outs believe that moving the SBB relief3 from the (b)(2) injunctive relief class to



3
        The SBB relief is set forth in, inter alia, Section 15 and Appendices C and D of the
Settlement Agreement. Defendants contend that Opt-Outs take no issue with how the SBB relief
is constructed. Defendants’ contention is incorrect. Opt-Outs have many issues with the
construction of the SBB relief: (i) only approximately 663 national accounts are receiving the right
to seek a potential SBB; (ii) qualification is not based on account size such that any one of the
thousands of national accounts who do not receive an opportunity to seek an additional Blue bid
may be larger than any one of the accounts who receive that opportunity; (3) qualification is not
based on actual geographic dispersion such that any one of the thousands of national accounts who
do not receive an opportunity to seek an additional Blue bid could be spread across more states
and be more geographically disperse than any one of the national accounts who receive that
opportunity; (4) entire categories of national accounts are excluded such as Church and Taft
Hartley plans; (5) Qualified National Accounts who opt out of the damages class are excluded
from receiving the SBB; (6) most all national accounts in an Anthem service area are ineligible to
be a Qualified National Account; and (7) the setting of the so-called Local Service and Support
Fee is an impermissible horizontal price fix.
                                                     2
the (b)(3) class along with the Court’s clarifying language will likely resolve the Opt-Out’s request

to be excluded from the (b)(2) injunctive relief class. Of course, the Opt-Out’s recognize that the

actual changes to the (b)(2) and (b)(3) relief may not be the same as proposed by the Court, and,

therefore, they appreciate the opportunity to submit this supplemental brief to attain clarity and,

hopefully, confirmation.

       The Opt-Outs seek to proceed with their own suit to seek individual damages and injunctive

relief without “infring[ing] on the Rule 23(b)(2) indivisible injunctive relief approved by the

court.” The Opt-Outs do not want to run afoul of any final approval order; and they request as

much clarity regarding the proposed language as the Court can provide. Cf. Int’l Longshoremen’s

Ass’n, Loc. 1291 v. Phila. Marine Trade Ass’n, 389 U.S. 64, 76 (1967) (“The judicial contempt

power is a potent weapon. When it is founded upon a decree too vague to be understood, it can be

a deadly one. Congress responded to that danger by requiring that a federal court frame its orders

so that those who must obey them will know what the court intends to require and what it means

to forbid.”); Schmidt v. Lessard, 414 U.S. 473, 476 (1974) (“[B]asic fairness requires that those

enjoined receive explicit notice of precisely what conduct is outlawed.”).

       The clarity requested by the Opt-Outs originates from the final sentence in the Court’s

proposed language: “However, the relief pursued by a Rule 23(b)(3) opt out may not infringe on

the Rule 23(b)(2) indivisible injunctive relief approved by the court.” Respectfully, the Opt-Outs

have three questions about this language. First, when the Court refers to “the relief pursued” by

an opt-out, is it referring only to injunctive relief? (We think so.) Second, which provisions of

the Settlement Agreement constitute the “Rule 23(b)(2) indivisible injunctive relief”? (We think

only Sections 10 and perhaps 17 do.) Third, are there any limitations on an Opt-Out’s individual

action by virtue of final approval other than such an action will not infringe on the Rule 23(b)(2)



                                                 3
indivisible injunctive relief? (We think not other than imposed by law.) These three questions are

addressed in turn.

       A.      The Meaning of the Term “Relief” in the Final Sentence

       The Opt-Outs understand the Court’s use of “the relief pursued” in the final sentence to

refer to injunctive relief. This understanding is informed by statements made by the Court and the

settlement proponents during the Fairness Hearing. See, e.g., Tr. I-25 (Court: “Monetary damages

clearly falls into divisible.”); Tr. I-26 (Court: “an ASO could opt out for (b)(3) purposes as to

monetary damages”); Tr. I-95 (Defendants: “if somebody exercises their opt-out rights, … they

could seek damages in any amount, including damages flowing from ESAs or anything else”)

(emphasis added); see also Class Supp. Br. at 16. In addition, the Opt-Outs’ understanding is

consistent with a class member’s constitutional right to opt out of a damages class to pursue its

own monetary recovery. See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 363 (2011).

       If our understanding is correct, then we respectfully request that the Court add the word

“injunctive” before “relief pursued” in the final sentence to clarify: “However, the injunctive relief

pursued by a Rule 23(b)(3) opt out may not infringe….” Such clarification would guard against




                                                  4
future assertions that requests for non-injunctive relief4 are subject to the Court’s limitation.5

       B.      The Meaning of “indivisible injunctive relief approved by the court”

       The Opt-Outs do not seek to infringe on “the Rule 23(b)(2) indivisible injunctive relief

approved by the court.” The Settlement Agreement, however, does not identify which provisions—

among the 87 pages, 64 sections, and 5 appendices—constitute “the Rule 23(b)(2) indivisible

injunctive relief.”6 Likewise, neither the original approval motion papers nor the supplemental

briefs filed by the settlement proponents identify what the parties contend constitute “the Rule

23(b)(2) indivisible injunctive relief.”7

       Case law is helpful in classifying injunctive relief as indivisible. “Injunctive relief” for an


4
         “[A]n injunction is limited to prospective relief.” Alabama v. U.S. Army Corps of Eng’rs,
424 F.3d 1117, 1133 (11th Cir. 2005). Courts distinguish “injunctive relief” from other types of
relief, such as damages or declaratory relief. See, e.g., AMG Cap. Mgmt., LLC v. Fed. Trade
Comm'n, 141 S. Ct. 1341, 1347 (2021) (“An ‘injunction’ is not the same as an award of equitable
monetary relief.”); Ulstein Mar., Ltd. v. United States, 833 F.2d 1052, 1055 (1st Cir. 1987)
(“Injunctions and declaratory judgments are different remedies. An injunction is a coercive order
by a court directing a party to do or refrain from doing something, and applies to future actions.
A declaratory judgment states the existing legal rights in a controversy, but does not, in itself,
coerce any party or enjoin any future action. Courts have on occasion refused to grant declaratory
relief in cases where the effect would be identical to a legally impermissible injunction.”); cf. Sec.
& Exch. Comm'n v. Graham, 823 F.3d 1357, 1362 (11th Cir. 2016) (“A declaration of liability…is
designed to redress previous infractions rather than to stop any ongoing or future harm.”).
5
         The requested clarification would, for example, foreclose an assertion that a finding of
liability or a declaration of illegality by a judge or jury “infringes on the Rule 23(b)(2) indivisible
injunctive relief” because it may induce defendants to alter certain practices in order to avoid
having to pay future damages or face governmental enforcement.
6
      While it does contain a heading entitled “Class Injunctive Relief,” the Settlement
Agreement expressly states that “[t]he headings used in this Agreement are intended for the
convenience of the reader only and shall not affect the meaning or interpretation of the
Agreement.” Settlement Agreement (ECF 2610-2) (“SA”) at § 54.
7
        Cf. LabMD, Inc. v. Fed. Trade Comm'n, 894 F.3d 1221, 1235 (11th Cir. 2018) (“Specificity
is equally important in the fashioning and enforcement of an injunction.”); U. S. Steel Corp. v.
United Mine Workers of Am., 519 F.2d 1236, 1246 (5th Cir. 1975) (explaining that the Rule 65(d)
specificity requirement “embodies the elementary due process requirement of notice”).


                                                   5
alleged violation of the Sherman Act is relief that prohibits “threatened conduct that will cause

loss or damage.” 15 U.S.C. § 26. It is designed to “pry open to competition a market that has been

closed by defendants' illegal restraints.” Zenith Radio Corp. v. Hazeltine Rsch., Inc., 395 U.S.

100, 133 (1969) (internal quotation omitted).8 Injunctive relief does not include all court orders,

as the Court in Alabama v. U.S. Army Corps of Engineers observed:

       In a general sense, every order of a court which commands or forbids is an
       injunction; but in its accepted legal sense, an injunction is a judicial process or
       mandate operating in personam by which, upon certain established principles of
       equity, a party [i.e., a Settling Blue Plan here] is required to do or refrain from doing
       a particular thing.

424 F.3d 1117, 1127 n.14 (11th Cir. 2005). (quotation and citation omitted).

       Injunctive relief is “indivisible” when it “provide[s] relief to each member of the class”

and “benefit[s] all its members at once.” Wal-Mart Stores, Inc., 564 U.S. at 360, 362; see also

Jennings v. Rodriguez, 138 S.Ct. 830, 851-852 (2018) (same). Following Wal-Mart, courts have

refused to classify injunctive relief as indivisible for a number of reasons, as Class Counsel here

has aptly summarized:

        Lower courts have applied the teaching of Wal-Mart to deny certification where
       the injunctive relief sought does not indivisibly benefit all class members at once,
       C.G.B. v. Wolf, 464 F.Supp.3d 174, 206 (D.D.C. 2020), where the injunction does
       not provide a uniform remedy, Castañeda Juarez v. Asher, 2020 WL 6434907, at
       *7 (W.D. Wash. July 6, 2020), or where the injunctive relief combines an array of
       remedies, some of which will benefit only certain subsets of the class. Cholakyan
       v. Mercedes-Benz, USA, LLC, 281 F.R.D. 534, 559 (C.D. Cal. 2012).

Class Supp. Br. at 8-9 (ECF 2868) (emphasis added).

       The Settlement Agreement defines the (b)(2) injunctive relief class as “all Individual



8
        This is consistent with the purpose of injunctive relief in general - to “undo existing
conditions” in order to “forestall future violations.” United States v. Oregon State Med. Soc., 343
U.S. 326, 333 (1952); Tennessee Valley Auth. v. Long, No. 4:12-CV-704-VEH, 2013 WL 387933,
at *3 (N.D. Ala. Jan. 18, 2013) (“[I]njunctions are prospective and are fashioned to prevent future
injury.”).
                                                  6
Members, Insured Groups, Self-Funded Accounts, and Members that purchased, were covered by,

or were enrolled in a Blue-Branded Commercial Health Benefit Product sold, underwritten,

insured, administered, or issued by any Settling Individual Blue Plan during the Settlement Class

Period.” SA at §1.pp (emphasis added). This expansive class definition includes current and

former fully-insured individuals, self-insured individuals, health benefit plans, group accounts,

employers, employees (including their spouses and dependents), sponsors, administrators,

fiduciaries, trade associations, and both ERISA and non-ERISA plans and participants. SA at

§§1.mm, uu, qq, ccc.

       Application of the established meaning of “Rule 23(b)(2) indivisible injunctive relief” to

the terms of the Settlement Agreement, reveals that only sections 10 (National Best Efforts) and

perhaps 17 (Acquisitions) could provide indivisible injunctive relief to all members of the (b)(2)

class as defined.9 In other words, sections 10 and 17 are the only ones that prohibit Defendants

from engaging in conduct that harms all class members. By contrast, Sections 12 (Self-Funded

Vendors), 14 (National Accounts), 15 (Second Blue Bid), and 18 (Most Favored Nations Clauses)

do not “provide relief to each member of the class,” but instead are directed toward addressing




9
        This sets aside the fact that the injunctive relief class definition includes millions of
deceased individuals and entities no longer in existence who, despite being part of the class, will
not receive any benefit from any injunctive relief in the Settlement Agreement. Compare
BlueCross        BlueShield         Association,       Blue       Facts        (May         2018),
https://www.bcbs.com/sites/default/files/file-attachments/page/BCBS.Facts__0.pdf (Blues cover
“more than 106 million people – one in three Americans) with Centers for Disease Control and
Prevention, Deaths and Mortality (Oct. 19, 2021), https://www.cdc.gov/nchs/fastats/deaths.htm
(reflecting approximately 3 million deaths annually during the Settlement Class Period) and U.S.
Small Business Administration Office of Advocacy, Small Business Facts (May 2018),
https://cdn.advocacy.sba.gov/wp-
content/uploads/2019/06/06192013/Small_Biz_Facts_Why_Do_Businesses_Close_May_2018_0
.pdf (“Over the last 25 years, about 7–9 percent of employer firms close every year and a slightly
higher share open.”).


                                                7
discreet conduct targeting only certain class members and only providing relief to certain class

members depending on their state residency, employee size, geographic dispersion, or claim

funding mechanism. Wal-Mart Stores, Inc., 564 U.S. at 360; see also McLaughlin on Class

Actions § 5:15 (“class members must have been harmed in essentially the same way so that success

by the plaintiff translates into success for all class members”).

       There are no other provisions of the Settlement Agreement, including Sections 11 (Local

Best Efforts),10 13 (Service Areas),11 or 16 (Additional Brand-Protection Mechanisms),

prohibiting Defendants from harm-causing conduct or provide relief to any class member. Thus,

by definition, no section of the Settlement Agreement, other than Sections 10 and 17, provide

“indivisible injunctive relief.” See, e.g., LabMD, Inc., 894 F.3d at 1236 (vacating injunctive order

because it “contains no prohibitions” and “does not instruct [the defendant] to stop committing a

specific act or practice”); Lucas v. Bolivar Cty., Miss., 756 F.2d 1230, 1235 (5th Cir. 1985) (“[T]he

effect and character that makes an order an injunction is that it requires a party to do or refrain

from doing something that is an integral part of the very matter in litigation, and invokes the normal

equitable principles underlying the injunctive process.”) (quotation omitted); Ulstein Mar., Ltd. v.



10
        Before the settlement, Defendants agreed to a LBE output restriction requiring 80% of each
Defendants’ local revenue be derived from a Blue-branded product. The settlement neither
prohibits the LBE output restriction nor lowers the 80% threshold. In fact, the provision is worse
than the status quo. Instead of a multi-state Defendant being able to dip below this 80% restriction
in some of the states in which it operates by aggregating its revenue amongst all the states in which
it operates, the Settlement Agreement actually eliminates this flexibility and renders the LBE
output restriction more harmful to competition, especially for national accounts. SA at § 11
(“Compliance with the Local Best Efforts Requirement shall be based on a geographic area no
larger than a state level.”). While this may be “indivisible,” it is not “relief” under any legally
cognizable definition of the term.
11
        Section 13 of the Settlement Agreement is entitled “Service Areas” and contains no
injunctive relief. In fact, its very terms recite that the Settlement Agreement contains no indivisible
injunctive relief to “prevent any Settling Individual Blue Plan from continuing to operate its Blue-
Branded business only in its Service Area.” SA at § 13.
                                                  8
United States, 833 F.2d 1052, 1055 (1st Cir. 1987) (“An injunction is a coercive order by a court

directing a party to do or refrain from doing something, and applies to future actions.”).

        To avoid uncertainty or later disputes, we respectfully ask the Court to confirm that

provisions of the Settlement Agreement that provide either “divisible” injunctive relief or no

injunctive relief at all do not constitute “the Rule 23(b)(2) indivisible injunctive relief approved by

the court.” Such a clarification comports with both the accepted definition of injunctive relief and

the guidance from the Supreme Court in Wal-Mart. 564 U.S. at 360 (holding that Rule 23(b)(2)

indivisible injunctive relief “provide[s] relief to each member of the class”) (emphasis added).12

        C.      Final Approval of the Settlement Should Contain No Limitations Against Opt-
                Outs Other than Prohibiting Infringement on the Approved Rule 23(b)(2)
                Indivisible Injunctive Relief

        This Court should not impose any additional limitations on the Opt-Outs beyond a

prohibition on infringing the Court approved Rule 23(b)(2) indivisible injunctive relief. For

example, any language suggesting that the Opt-Outs have released any claim pertaining to

additional Blue bids or the continuing market allocation of national account customers should not

be included in the Final Approval Order. As the Court repeatedly confirmed during the Fairness

Hearing, the opt-outs do not release or waive any claim. See, e.g., Tr. II-23 (“You haven’t released

a claim.”); II-23 (“you’ve not released the claim”); II-23 (“it’s not a matter of release”); II-24 (“It’s

not a release.”); II-25 (“It’s not a release.”); II-25 (“it’s not a waiver of a claim”). The Court



12
        The Opt-Outs recognize that there are other limitations in seeking injunctive relief in their
own suits. For example, opt-outs cannot bring a class action or seek indivisible injunctive relief
on behalf of an injunctive relief class. See, e.g., 2 AREEDA, HOVENKAMP & BLAIR, ANTITRUST
LAW ¶ 335 (2d ed. 2000). In order for an opt-out to obtain divisible injunctive relief, it still must
prove “threatened conduct that will cause loss or damage” to itself. 15 U.S.C. §26. These legal
limitations are already embedded in the law and are unchanged by the clarification sought by the
Opt-Outs. To be clear, the Opt-Outs understand that they will be able to pursue only injunctive
relief for themselves and will not be permitted to obtain market-wide injunction for all national
accounts.
                                                   9
explained, for example, that opt-outs retained the right post-settlement to, inter alia, “litigate

whether ESAs are illegal” and “seek individualized relief if a court determines that they are.” Tr.

II-113; see also I-93 (“you’ve not released your claim that, under the new structural relief, you

should be entitled to a second Blue bid or that you should have the right to pursue other Blue

bids”).

          The Court’s pronouncements comport with Supreme Court precedent that opt-outs

“preserve absolutely their right to litigate.” Matsushita Elec. Indus. Co. v. Epstein, 516 U.S. 367,

385 (1996); Crown, Cork & Seal Co. v. Parker, 462 U.S. 345, 351 (1983); Butzen v. Mid-States

Exp., Inc., No. 07 C 5716, 2008 WL 515165, at *2 (N.D. Ill. Feb. 25, 2008) (an opt-out of a class

settlement “will not be bound by it”); In re Inter-Op Hip Prosthesis Liab. Litig., 204 F.R.D. 330,

353–54 (N.D. Ohio 2001) (“If the claimant timely and properly exercises his opt-out right, he may

initiate, continue with, or otherwise prosecute any legal claim against the defendants, without any

limitation, impediment or defense arising from the terms of the settlement agreement.”).

          Given the clarity of this Court’s statements, the uniformity of the case law, and Defendants’

own acknowledgement during the Fairness Hearing,13 the Opt-Outs had no intention of raising this

third question as it seemed settled. However, Defendants have made the following assertion in

their supplemental brief: “each member of the (b)(2) class has individually released any claim

for injunctive relief that service areas or other Blue policies are illegal or unenforceable.” Def.

Supp. Br. at 17 (ECF 2869) (emphasis added).14 In light of this assertion, the Opt-Outs ask the



13
        The Court asked Defendants’ counsel if he agreed that “nothing about the approval of my
settlement affects their ability to prove in their individual case a Sherman Act violation; right?”
Tr. I-169. Counsel responded: “Absolutely – I totally agree.” Tr. I-169.
14
       Defendants cite two authorities for this proposition. First, they cite to Faught v. Am. Home
Shield Corp., in which this Court enjoined opt-outs from prosecuting “any and all representative
aspects” of their post-class settlement action. The Opt-Outs have not sought and do not seek to
                                                   10
Court to memorialize its statements during the Fairness Hearing and reject Defendants’ contention

for at least three reasons.

        First, to borrow a phrase from the Court, Defendants are “mixing apples and oranges.” Tr.

II-23. An injunction is not a claim. “An injunction is a ‘remedy potentially available only after a

plaintiff can make a showing that some independent legal right is being infringed.’” U.S. Army

Corps of Eng’rs, 424 F.3d at 1127 (quoting Klay v. United Healthgroup, Inc., 376 F.3d 1092, 1097

(11th Cir. 2004)). “There is no such thing as a suit for a traditional injunction in the abstract. For

a traditional injunction to be even theoretically available, a plaintiff must be able to articulate a

basis for relief….” Id. (“[A]ny motion or suit for either a preliminary or permanent injunction must

be based upon a cause of action.”).

        As this Court explained at the Fairness Hearing:

        It's a matter of whether you're precluded, for example, under the All Writs Act,
        from pursuing that particular remedy. It's not waiving the claim. It's not releasing a
        claim. It's whether you can pursue that particular remedy.

Tr. II-23-24 (emphasis added) (explaining that opt-outs may pursue any remedy “that doesn't




represent anyone except themselves. Furthermore, the customer allocation of national accounts is
directed at only a small minority (0.003%) of class members – i.e., national account plans. This
stands in stark contrast to the facts in Am. Home Shield where this Court found that “[t]he Class
Members claim to have been harmed by a common course of conduct—Defendant’s alleged
‘uniform’ corporate policies designed to deny claims and which otherwise adversely affect
policyholders.” Faught v. Am. Home Shield Corp., No. 2:07-CV-1928-RDP, 2010 WL 10959223,
at *11 (N.D. Ala. Apr. 27, 2010), aff’d, 668 F.3d 1233 (11th Cir. 2011). Likewise, in Am. Home
Shield, “Plaintiffs allege that the Class Members all suffered harms in the same manner,” whereas
here both the Class and Defendants acknowledge that the allocation of national accounts “has
always been directed to a sub-class of the divisible relief class.” Def. Supp. Br. At 15 (ECF 2869).

        Second, Defendants cite to this Court’s statement that objectors “don’t have the right to
pursue any relief that would undermine a class settlement enjoyed by millions of others.” As
explained herein, any relief pursued by the Opt-Outs to address Defendants’ unlawful allocation
of the national account market would do nothing to infringe upon any Rule 23(b)(2) indivisible
injunctive relief approved by the Court and would be applicable only to themselves.
                                                 11
undermine the (b)(2) relief”). The Court then asked the settlement proponents directly: “Does

anybody disagree with me that it's not a release, it's just a matter of what relief can be sought?” Tr.

II-24. Counsel responded: “I believe the subscribers and the Blues are in alignment with Your

Honor's recitation of how this would play out.” Tr. II-24. Opt-Outs understand the Court’s

distinction between the release of a claim and the prohibition on certain relief. They ask that any

final approval order reflect this distinction.

        Second, to borrow another phrase used by the Court, “what is sauce for the goose is sauce

for the gander.” ECF 2841 at 2. Defendants cannot place the relief for a claim in a (b)(3) class

while placing the release for the same claim in a (b)(2) class. The SBB injunctive relief seeks to

address the claim that Defendants have allocated the national account market to prevent national

accounts from receiving more than one Blue bid.15 Defendants’ acknowledge that the allocation of

national accounts “has always been directed to a sub-class of the divisible relief class.” ECF

2869 at 15 (emphasis added) (further explaining that this subset must have at least 5,000 covered

lives). Defendants further admit that the SBB injunctive relief is “appropriately considered (b)(3)

relief.”16 (Def. Supp. Br. at 14 (ECF 2869)). Therefore, any release of the claim that the SBB

injunctive relief seeks to address is a (b)(3) claim and is not released by a (b)(3) opt out. This same


15
         Cf. Fourth Am. Compl. At ¶ 384 (“The Blue Plans also enacted rules regarding allocation
of customers of national accounts amongst Blue Plans.”); ¶ 6 (“Defendants have engaged and are
still engaging in per se illegal market division.”); ¶ 537 (“These territorial allocation agreements
are per se illegal under Sections 1 and 3 of the Sherman Act.”). Competitors can allocate markets
either by allocating exclusive territories or by allocating identified customers. Both forms of
market allocation are per se illegal. See U.S. v. Topco Assoc., 405 U.S. 596, 608-09, 612 (1972)
(allocation of exclusive retail sales territories and allocation of wholesale customers both held per
se illegal). Here, Defendants have combined aspects of both forms of market allocation. National
accounts, by definition, are present in multiple territories and each national account customer is
allocated to a Defendant based on the location of its headquarters.
16
         The Class also shares this understanding. See Class Supp. Br. At 7 (ECF 2868) (“the SBB
relief is more properly classified as divisible relief”).


                                                  12
logic explains why a (b)(3) opt-out does not release claims that the (b)(3) class damages were

designed to address.

       Third, Defendants’ attempt to completely insulate “service areas or other Blue policies” is

an overreach. It goes far beyond this Court’s prohibition on infringing upon “the Rule 23(b)(2)

indivisible injunctive relief.” It also exceeds any constitutionally permissible benefit of the bargain

in the Settlement Agreement. Much ink has already been spilled about Defendants’ service areas

or “ESAs.” For national accounts, however, the ESAs themselves are not necessarily the issue as

national accounts (by their very nature) transcend the ESAs. When a Defendant services a national

account, it is already operating outside of its ESA.

       For example, FedEx has employees in all 50 states and in every ESA. Defendants,

however, have decided among themselves that only one of them—BCBS-TN—has the right to bid

to service FedEx’s hundreds of thousands of employees across all of the ESAs. This customer

allocation has no essential connection to the ESAs; FedEx is in all of the ESAs and has more

employees outside of BCBS-TN’s ESA than it does inside of BCBS-TN’s ESA. 17 This is true of

many national accounts, including a number of Opt-Outs.

       Defendants use the ESAs as a means to implement their customer allocation by dividing

up national accounts based upon the ESA in which the account is headquartered. Yet, Defendants

could just as easily—and unlawfully—allocate them based on where a national account has the

most covered lives or where it is incorporated. Likewise, Defendants could achieve their same

(unlawful) objective by allocating national accounts alphabetically or by random draw. There is

nothing inherent about Defendants’ allocation of national accounts that requires the ESAs nor does


17
      Perhaps for this reason, BCBS-TN has “ceded” FedEx to Anthem. In other words, Anthem
and BCBS-TN, two horizontal competitors, agreed as to the allocation of FedEx. Such an
agreement runs contrary to the stated procompetitive justifications for the ESA’s.

                                                  13
the continuation of the ESAs require the allocation of national accounts.18

            A national account’s complaint about unlawful market allocation is not about the

continuation of the ESAs.19 Rather, it is about an agreement among the Defendants to limit which

one of them can offer services to a national account. The SBB seeks to begin to address this

unlawful allocation for some sub-class members, but the Opt-Outs should not be foreclosed from

addressing the allocation further in their own suits.

            The Court should refuse any request by Defendants to include language in any final

approval order that forecloses Opt-Outs from challenging the national account allocation or

concludes that “other Blue policies” (Def. Supp. Br. at 17, ECF 2869) such as the national account

allocation are in any way immunized from challenge “on any legal or factual basis” (Class Supp.

Br. at 16 (ECF 2868)) beyond the Court’s prohibition on infringing the Rule 23(b)(2) indivisible

injunctive relief.

     III.      The Court Does Not Need to Decide whether Defendants’ Going-Forward Market
               Allocation Is Per Se Illegal

            Defendants ask the Court to affirmatively hold that their going-forward allocation of

national accounts does not violate the per se rule. Defendants admit that they intend to rely on

that holding as authority in defending the merits of the claims brought by opt-out litigants. Tr. I-

168.



18
        For this reason, if the ESAs are illegal, then so too is the national account allocation. But
if the ESAs are deemed lawful, then it does not follow that the national account allocation is lawful.
19
        Conversely, when Defendants seek to justify their ESAs as they do in their supplemental
brief, they are not actually addressing the anticompetitive conduct about which the national
accounts complain. For example, Defendants’ assertion that ESAs encourage individual
Defendants to promote the brand within their ESAs has no relationship to the scheme whereby a
single Defendant is allocated the exclusive right to bid on a national account with employees
outside of that Defendant’s ESA.


                                                 14
       The Court need not and should not decide whether the going-forward national account

customer allocation violates the per se rule in the context of a settlement approval hearing. The

test for whether a class settlement may be approved is whether it is “clear” or a “legal certainty”

that the settlement authorizes conduct that is per se illegal. The Court need not go any further to

approve the settlement and conclude that it is neither “clear” nor “certain” what the outcome of

the per se analysis will be. Defendants’ insistence that the Court decide the merits of the per se

issue in the context of the settlement approval hearing is contrary to controlling authority and

would likely result in the rejection of the proposed settlement.

       The controlling authority is Bennett v. Behring Corp., 737 F.2d 982 (11th Cir. 1984). In

Bennett, the class brought per se illegal tying claims. A settlement was reached, and objectors

argued it could not be approved because it would perpetuate a per se violation. Id. at 985, 987.

The trial court approved the settlement and the Eleventh Circuit affirmed, holding that whether the

settlement perpetuated per se illegal conduct “properly goes to the merits of the case” and “is

inapposite in our review of the settlement.” Id. at 987. The appellate court further held that

“whether there is some merit to plaintiffs’ contention that the … tie-in arrangements constitute

antitrust violations is not the issue” and that “unless the illegality of an arrangement under

consideration is a legal certainty, the mere fact that certain of its features may be perpetuated is

not a bar to approval.” Id. (emphasis added).

       Defendants ignore Bennett and relegate it to a “see also” cite. ECF 2869 at 2.20 Instead,

Defendants rely principally on out-of-circuit decisions in Grunin v. Int’l House of Pancakes, 513


20
       Defendants’ only analysis of Bennett is to incorrectly assert that it was not a per se case
because the defendant lacked market power. ECF 2869 at 5. There is no such holding in Bennett,
and neither the appellate nor the district court even mention market power. Furthermore, the
Bennett settlement was approved in 1982. It was not until 1984 that market power was a required
element of a per se illegal tying claim. Jeff. Parish Hosp. v. Hyde, 466 U.S. 2, 13-14 (1984).

                                                15
F.2d 114 (8th Cir. 1975), and Robertson v. NBA, 556 F.2d 682 (2d Cir. 1977), for the proposition

that “clearly illegal,” “illegal to a legal certainty,” and “per se illegal” are synonyms, and this Court

must, therefore, decide the merits of whether the going-forward market allocation is per se illegal.

ECF 2869 at 2. The fallacy in Defendants’ argument is that conduct that is eventually found to be

per se illegal may not be “clearly” per se illegal or per se illegal “to a legal certainty” when the

settlement is presented for approval.21 Furthermore, neither Robertson nor Grunin, much less

Bennett, support Defendants’ position.

        In Robertson, objectors asserted that a proposed class settlement could not be approved

because it perpetuated a per se violation. The Second Circuit held that “it is true that a settlement

that authorizes the continuation of clearly illegal conduct cannot be approved, but a court in

approving a settlement should not in effect try the case by deciding unsettled legal questions.” 556

F.2d at 686. The court further held that because the applicable case law was not completely clear,

“the alleged illegality of the settlement agreement is not a legal certainty” and that the settlement,

therefore, could be approved because it did not authorize “clearly illegal conduct.” Id. (emphasis

added). Contrary to Defendants’ assertion, Robertson did not hold that the going-forward conduct

was not per se illegal – just that it was not clearly per se illegal.22

        In approving the settlement in Grunin, the court held that neither the trial nor appellate




21
        The absence of a properly developed record, the lack of a truly adversarial proceeding,
disputed issues of fact, or arguments about the applicable law may cloud the issues and necessitate
further litigation. Bennett v. Behring Corp., 96 F.R.D. 343, 354 (S.D. Fla. 1982) (holding that the
settlement could be approved “[i]n view of the substantial dispute which exists as to the legality
of the [allegedly per se illegal] tie-ins”).

22
        Robertson relies on West Virginia v. Chas. Pfizer & Co., 440 F.2d 1079, 1086 (2d Cir.
1971), which holds that an objector “must show … that the rules of law for which she is contending
are so clearly correct that it was an abuse of discretion for… court to approve the settlement.”


                                                   16
court “have the right or duty to reach any ultimate conclusions on the issues of fact and law which

underlie the merits of the dispute.” 513 F.2d at 123. The court further held that “in examining a

proposed compromise for approval or disapproval … the court does not try the case” and the very

purpose of such a compromise “is to avoid the delay and expense of such a trial.” Id. at 124.23

       The Grunin court also noted that the parties had “vigorously contested” whether the per se

rule applied to the conduct in question and that relevant issues of law and fact were unresolved.

513 F.2d at 124. The court explained that its survey of the conflicting cases “is not intended to be

an appraisal of the merits of the claims in contention” but is recited to “illustrate … that the alleged

[per se] illegality of the settlement agreement is not a legal certainty.” Id. As a result, the Eighth

Circuit concluded it was within the trial court’s discretion to approve the settlement. Id.

       Here, Defendants’ argument that this Court should affirmatively decide that their going-

forward national account market allocation is “clearly” not per se illegal is inconsistent with this

Court’s prior order granting Defendants’ motion for an interlocutory appeal – suggesting the issue

is neither “clear” nor “certain.” Furthermore, Defendants’ per se argument is based on disputed

issues of law and fact that allow the Court to hold under present circumstances that resolution of

the per se issue is not “clear” or “certain.” Under these circumstances, Bennett, Grunin and

Robertson all hold that the settlement can be approved, but that the Court need not and should not

decide the mode of analysis or the ultimate merits of the per se claim.



23
        The views expressed in Grunin relating to the compromise of uncertain positions faced by
the parties at the time of settlement are similar to views expressed by this Court at the Final
Approval hearing. See Tr. I-142-43 (“Because whether I'm right, wrong, or somewhere in
between, that's what the parties dealt with when they sat down at the negotiating table after the
standard-of-review order and the orders that followed it in that I said the Court cannot decide this
question as a matter of law, we're going to have to litigate this issue further. And so to litigate this
issue further, the parties had a decision to make: Should we litigate or should we settle? And that
was the landscape they settled under; right?”).


                                                  17
     IV.      Defendants Are Not Entitled to a Ruling that their Going-Forward Market
              Allocation Is Not Per Se Unlawful

           Defendants initially argued that the going-forward market allocation is not per se illegal

due to: (1) the need for an aggregation of offenses; and (2) the single-entity defense. The Opt-

Outs responded that U.S. v. Topco Associates, Inc., 405 U.S. 596, 609 n.9 (1972), disposed of any

need for an aggregation of offenses,24 and Defendants’ market allocation could not be single-entity

conduct under American Needle, Inc. v. NFL, 560 U.S. 183 (2010).25 In light of those arguments,

Defendants have abandoned their aggregation and single-entity arguments.26

           Defendants do, however, advance two arguments for why their going-forward market

allocation scheme should not be per se illegal. First, Defendants argue that the per se rule is

inapplicable because their agreement has procompetitive benefits. As explained below, this

argument: (1) misunderstands the per se rule, which does not allow for procompetitive

justifications; and (2) is based on disputed or rejected assertions of fact. Second, Defendants claim


24
        See also U.S. v. Cadillac Overall Supply Co., 568 F.2d 1078, 1088-89 (5th Cir. 1978)
(stating that the Supreme Court held in Topco that an aggregation of offenses “is not required when
a horizontal market division has been shown”).
25
        See ECF 2812-19 at 17-20 and ECF 2830 at 5-8. American Needle requires that defendants
act as a single entity with regard to the challenged conduct. 560 U.S. at 191, 195, 198; Areeda &
Hovenkamp, Antitrust Law, ¶ 1489(d)(3) (the American Needle functional test “focus[es] on the
particular practice under antitrust scrutiny”); Dept. of Justice Amicus Brief submitted to the 11th
Circuit in Arrington v. Burger King Worldwide, Inc., No. 20-13561 (copy attached as Ex. A) at 18
(proper test under American Needle is to “evaluate[] functionally whether the [defendants] … had
disparate economic interests with respect to the challenged restraint” (emphasis original)); Tr. I-
136-142. The Opt-Outs submit that it is not possible for the independently owned Defendants to
be a single entity for purposes of the challenged restraint in this case – i.e., an agreement not to
invade each other’s territory and take sales away from each other.
26
        The class does refer to the aggregation analysis in this Court’s summary judgment and
preliminary approval rulings. Both of those opinions were issued before the Opt-Outs pointed out
that footnote 9 of Topco conclusively eliminated any need for aggregation in order to find that a
per se violation. The class does not dispute the import of footnote 9 of Topco and relied on it in
arguing to the 11th Circuit that “[t]he Supreme Court specifically rejected [defendants’
aggregation] argument.” USCA11 Case: 18-90020 (7/2/18) at 16.
                                                  18
that prior existing common-law trademark rights prevent the per se rule from applying to their

market allocation scheme. This Court has already held, however, that whether these common law

trademark rights even existed is uncertain and disputed.

           A. Defendants’ Proffered Procompetitive Justification Does Not Allow Them to
              Avoid the Per Se Rule

           Defendants claim that the per se rule is inapplicable because their going forward market

allocation might plausibly have procompetitive effects.            ECF 2869 at 7.       This argument

misunderstands the per se rule. As acknowledged by the Class: “The whole point of the per se

standard is that when it applies, it obviates the need to examine whether a plausible pro-competitive

justification for the challenged practice exists.” Class §1292(b) Br., USCA11 Case: 18-90020

(7/2/18) at 19.

           Supreme Court authority holds that procompetitive benefits are irrelevant to the per se rule.

See, e.g., Arizona v. Maricopa Cnty. Med. Soc’y, 457 U.S. 332, 344 (1982) (conduct that is per se

illegal is subject to “a conclusive presumption” that “it has an unreasonable effect on

competition”); Leegin Creative Leather Prod., Inc. v. PSKS, Inc., 551 U.S. 877, 886 (2007) (“The

per se rule, treating categories of restraints as necessarily illegal, eliminates the need to study the

reasonableness of the individual restraint in light of the market forces at work.”). Thus, the

Supreme Court has rejected efforts to avoid the per se rule by advancing purported procompetitive

effects:

              The respondents’ principal argument is that the per se rule is inapplicable
              because their agreements are alleged to have procompetitive justifications. This
              argument indicates a misunderstanding of the per se concept. The
              anticompetitive potential inherent in all price-fixing agreements justifies their
              facial invalidation even if procompetitive justifications are offered for some.

Maricopa Cnty., 457 U.S. at 351, n.23; see also Catalano, Inc. v. Target Sales, Inc., 446 U.S. 643,

647, 648-49 (1980) (holding certain practices per se unlawful and stating “the fact that a practice

                                                    19
may turn out to be harmless in a particular set of circumstances would not prevent its being

declared unlawful per se.”). Quality Auto Painting v. State Farm Indem. Co., 870 F.3d 1262, 1271

(11th Cir. 2017) (“per se violations … are conclusively presumed to be unreasonable and therefore

illegal without elaborate inquiry as to the precise harm they have caused or the business excuse for

their use”), rev’d on other grounds, 917 F.3d 1249 (11th Cir. 2019).27

       Horizontal market allocation can be achieved either by allocating territories or by

allocating customers. Both have the same effect on competition, and the courts do not distinguish

between them. Cadillac, 568 F.2d at 1088 (the difference between a territorial allocation and a

customer allocation “is a distinction without substance” and “we fail to see any significant

difference between an allocation of customers and an allocation of territory”).            In Topco,

defendants not only allocated retail territories, but also allocated wholesale customers. 405 U.S.

at 603, 612 (restrictions on sales to wholesalers held to be “regulation of the customers to whom

members of Topco may sell Topco-branded goods”). The Supreme Court held both forms of

market allocation to be per se illegal. Id. at 608, 612; Cadillac, 568 F.2d at 1089 (stating that

Topco addressed restrictions on sales to wholesalers “and expressly condemned customer


27
        Defendants’ reliance on Broadcast Music, Inc. v. Columbia Broad. Sys., Inc., 441 U.S. 1,
14-15 (1979) (“BMI”), Augusta News Co. v. Hudson News Co., 269 F.3d 41, 48 (1st Cir. 2001),
and Polk Bros., Inc. v. Forest City Enters., Inc., 776 F.2d 185, 188 (7th Cir. 1985), for the
proposition that procompetitive effects obviate the per se rule is seriously misplaced. BMI
recognized an exception for the per se rule if the product in question would otherwise not be
available at all. See NCAA v. Bd. of Regents of Univ. of Okla., 468 U.S. 85, 100-01 (1984)
(explaining that BMI created an exception to the per se rule where “horizontal restraints on
competition are essential if the product is to be available at all”). This Court, however, has already
held “the market allocations at issue are not necessary to market, sell or produce health insurance.”
308 F. Supp. 3d at 1269-70. Augusta addresses the applicability of the per se rule to joint ventures
(269 F.3d at 43), but this Court has already held that Defendants are not a joint venture. 308 F.
Supp. 3d at 1250. Polk Bros. is another joint venture case in which the joint venturers agreed to
construct a new building that they would both occupy. The restraint was deemed ancillary to the
creation of a new productive asset. Here, Defendants are not joint venturers and their restraint is
not ancillary to the construction of new productive assets.

                                                 20
allocations as a per se violation”).

       The Supreme Court holds market allocations to be “naked restraints of trade with no

purpose except stifling of competition” and “[o]ne of the classic examples of a per se violation of

§1.” Topco, 405 U.S. at 608 (quotation omitted); Palmer v. B.R.G. of Ga., Inc., 498 U.S. 46, 49-

50 (1990) (market allocation is a “classic example[] of a per se violation” “regardless of [how] the

parties split a market”); Leegin, 551 U.S. at 886 (“Restraints that are per se unlawful include

horizontal agreements among competitors to … divide markets.”); Cadillac, 568 F.2d at 1090 (“we

hold that the allocation of customers is a per se violation”); U.S. v. Goodman, 850 F.2d 1473, 1476

(11th Cir. 1988) (“customer allocation agreement alone is a per se illegal violation”).

       Any doubt as to whether a purported procompetitive justification is relevant to the per se

rule against market allocations is resolved by Topco. There, a group of small grocers formed an

association to share private-label goods in order to better compete with national chains. 405 U.S.

at 599, n.3. Each Topco member was given an exclusive retail territory in which to sell Topco-

branded products, and each agreed not to sell Topco products in another member’s territory. Id.

at 601-03. The defendants argued, just as do the Blue-licensees here, that the market allocation

was not per se illegal because it had the procompetitive effect of “increasing competition by

enabling its members to compete successfully with larger regional and national chains.” Id. at

605. The district court agreed. It held that the purported procompetitive justification was relevant

to the analysis and applied the rule of reason. Id. at 606-07 (quotation omitted). The Supreme

Court reversed. It held that a horizontal market allocation is a “classic … per se violation” (id. at

608), which “conclusively” presumes an illegal effect without inquiry into the competitive harm it

has caused or the “business excuse for [its] use.” Id. at 606. As a result, the Supreme Court held

that “the district court erred” by considering the purported procompetitive justification and failing



                                                 21
to apply the per se rule. Id. at 608.28 The Court explained that “[it] has consistently rejected the

notion that naked restraints are to be tolerated because they are well intended or because they are

allegedly developed to increase competition.” Id. at 610.

       In light of the foregoing clear and well settled law, Defendants’ contention that

procompetitive justifications prevent their going-forward market allocation from being per se

illegal is mistaken. Abundant case law rejects the relevance or even the consideration of any

purported procompetitive justification to the per se rule.

       B. Defendants’ Procompetitive Justification Is Based on Disputed or Rejected Facts

       Even if the law allowed procompetitive effects to justify otherwise per se illegal conduct,

Defendants’ argument that the going-forward market allocation is not per se unlawful depends on

disputed, untested, or rejected facts. Specifically, Defendants claim that their ESAs “might

plausibly be thought to have a net procompetitive effect” because: (1) their “purpose … is to

protect the value and utility of the Blue Marks” (ECF 2869 at 5); (2) they “facilitate” “productive

integration” and “cooperation” (id. at 7); and (3) they increase interbrand competition (id. at 8).

       As an initial matter, Defendants fail to tie these purported procompetitive benefits to the

allocation of the national accounts, let alone explain how the allocation is necessary to obtain the

purported benefits. As explained above, the ESAs could exist without allocating the national

accounts. For example, Defendants’ attempt to justify their ESAs has no rational connection to




28
        Topco also disposes of Defendants’ argument that future “green” competition is a
procompetitive effect that allows their market allocation to escape per se condemnation. In Topco,
the defendants agreed only to refrain from competing in each other’s retail territories with Topco-
branded products. 405 U.S. at 601, 603. There was no prohibition on “green” competition.
Nevertheless, the Supreme Court applied the per se rule to the stand-alone territorial allocation.
See also U.S. v. Sealy, 388 U.S. 350, 352 (1967) (agreement to allocate market for Sealy-branded
products held per se illegal even though defendants could sell non-Sealy-branded products in any
geographic market they chose).
                                                 22
the allocation of opt-out Boeing to the Illinois Blue. Boeing has 43 times more employees in

Washington state than it does in Illinois, and the allocation of Boeing to the Illinois Blue advances

none of Defendants’ purported procompetitive benefits.

       Furthermore, none of the Defendants’ claimed procompetitive effects are supported by a

record citation. The closest Defendants come is to misrepresent this Court’s decision to certify the

per se issue for interlocutory review. Defendants cite to 2018 WL 3326850 at *1, in support of

the contention that their exclusive service areas “enable[]” them to provide “a unique national

network” and provide health insurance in rural areas. ECF 2869 at 7, 8. The cited passage,

however, says nothing of the sort. It does not even mention the exclusive service areas, or state

that they enable anything.29 Even if the law allowed a procompetitive effect to set aside the per se

rule, none of the Defendants’ assertions of effect have been proved and all of them are disputed.

These unsupported factual assertions cannot possibly support the Defendants’ request that this

Court conclude, as a matter of law, that their conduct is procompetitive and, therefore, exempt

from the per se rule.

       In addressing the factual record, the Opt-Outs are at a significant disadvantage. Defendants

have refused to grant them access to the record while continuing to assert that their conduct should

be exempt from per se treatment for factual reasons.30 Nonetheless, the limited publicly-available



29
        Defendants also cite to the Court’s summary judgment opinion at 308 F. Supp. 3d at 1255
for the proposition that the Blue Card has procompetitive benefits. ECF 2869 at 7. The cited
passage says nothing about procompetitive benefits, much less a benefit attributable to the
allocation of the national accounts. Defendants also claim that their ESAs enable service to remote
areas. Id. at 8. The referenced passage comes from footnote 9 of the summary judgment opinion
(308 F. Supp. 3d at 1256, n.9), and does not mention ESAs or state that they enable anything.

30
        On July 26, 2021, the Opt-Outs served a motion to intervene which would grant them
access to the record. The Motion was provided to the Administrator and counsel for the settlement
proponents in accord with Section 14 of the Notice authorized by this Court. The Motion is
attached as Ex. B. The Defendants have opposed the motion and repeatedly refused to grant Opt-
                                                 23
record demonstrates that Defendants’ assertions of procompetitive effect are, at a minimum,

uncertain and are likely false. Indeed, some of the Defendants’ purported procompetitive facts

have already been rejected by this Court. Others are sharply at odds with the Defendants’ own

admissions.

       For example, Defendants assert that their market allocation is procompetitive because its

purpose is to protect the value of the Blue Marks (ECF 2869 at 5) and enable “productive

cooperation” (id. at 7). This Court, however, has already found that Defendants admitted to a more

nefarious purpose and effect:

              “One CEO reported that ‘Plans benefit from the exclusive services areas because it
               eliminates competition from other Blue Plans and that without service areas there
               would be open warfare.’” 308 F. Supp. 3d at 1253.

              “A summary of conversations with four Blue CEOs states ‘the major advantage of
               an exclusive franchise area was seen in the lessening of competition….’” Id.

              “Plan CEOs stated that ESAs create ‘larger market share because other Blues stay
               out and do not fragment the market.’” Id.

       The Opt-Outs have also been able to glean from the partial publicly-available record

additional evidence of anticompetitive purpose and effect:

              Defendants admit that their market allocation scheme is not necessary to protect the
               Blue Marks: “Unique issues arising in overlapping service areas can be addressed
               by reasonable interpretations of the BCBSA rules and regulations, which preserve
               the integrity of the Brands yet allow Plans to coexist in overlapping service areas.”
               ECF 1436-100 at 8; ECF 1436-77.

              The BCBSA VP of Consumer Strategy stated that “Brands are not protected by the
               ESAs but the ESAs protect the Plans’ business model….” ECF 1436-82.

              Defendants admit that the effect of their market allocation is to suppress
               competition and that without it “Plans would not be able to protect themselves from
               out of area [Blue] competition” (ECF 14436-13 at BCBSF-00181534); and that

Outs’ counsel access to the discovery record from the MDL. ECF. 2813. The Opt-Outs’ reply
in support of their motion to intervene may be found at ECF 2830. The Motion is fully briefed
and pending.
                                                24
               “Plans benefit from the exclusive service areas because it eliminates competition
               from other Blue Plans.” ECF 1436-19 at BDCBSA 00083738.

       Defendants also argue that ESAs “enable” procompetitive integration and a “unique”

service with competitive benefits. ECF 2869 at 7. This Court, however, has already found

otherwise:

       [Defendants] cannot claim they produce a unique product. The market allocations
       at issue are not necessary to market, sell or produce health insurance…. The plan
       to go to ESAs constituted a new marketing/sales strategy, not a new product. The
       products remain exactly the same – commercial insurance and insurance services.

308 F. Supp. 3d at 1269-70.31

       Defendants’ contention that their allocation of national accounts facilitates interbrand

competition is also incorrect. Interbrand competition means competition between horizontally

competing producers of a product. See Cont'l T. V., Inc. v. GTE Sylvania Inc., 433 U.S. 36, 57 &

n.27 (1977) (observing that Topco “involved a horizontal restriction among ostensible

competitors”). Here, although they sometimes utilize a common trademark, each Defendant is a

competing producer of insurance services. 308 F. Supp. 3d at 1267. Their market allocation

scheme eliminates that horizontal competition.

       In sum, even if a procompetitive effect could set aside the per se rule, the existence of the

procompetitive effect would have to be proved. Mere allegations – especially in the face of

admissions and judicial findings to the contrary – cannot carry the day.

       C. Defendants’ Common Law Trademark Argument Cannot Avoid the Per Se Rule

       Defendants assert that pre-existing common law trademark rights somehow exempt their



31
        Defendants also rely on authority already rejected by this Court. Defendants cite FTC v.
Actavis, 570 U.S. 136 (2013), and Procaps S.A. v. Patheon, Inc., 845 F.3d 1072 (11th Cir. 2016),
for the proposition that horizontal market allocations are not per se illegal. ECF 869 at 6, 7, 11,
12. This Court has explicitly held both cases to be inapposite. 308 F. Supp. 3d at 1271.


                                                 25
going-forward market allocation from the reach of the per se rule. Specifically, Defendants claim

that: (1) Topco is distinguishable because it did not involve pre-existing trademark rights (ECF

2869 at 5, 9-12); (2) trademarks by their nature are not exclusionary (id. at 6); and (3) unlike Topco,

their going-forward market allocation has procompetitive effects (id. at 7-9). These arguments

have no merit. At best, Defendants’ contentions are factually and legally disputed.32

       This Court has already held that Topco is the controlling authority. 308 F. Supp. 3d at

1260-62. Nonetheless, Defendants claim Topco is “distinguishable because [it] did not involve

pre-existing trademark rights.” ECF 2869 at 5. Defendants argue that they individually owned

exclusive common law trademark rights before they transferred those rights to BCBSA, and by

placing those independently owned rights into the collective hands of the BCBSA, they “merely

codified existing rights.” ECF 2728 at 16, 17; ECF 2869 at 9-10. Defendants’ argument fails for

four reasons.

       First, no court has ever accepted this argument or held the transfer of individual trademark

rights to a horizontal group of competitors who agree not to compete against each other in the sale

of trademarked products is beyond the reach of the per se rule. This alone is sufficient to reject

Defendants’ claim that the per se rule is “clearly” inapplicable to their conduct. Robertson, 556

F.2d at 686 (holding that for purposes of approving a class settlement, an asserted legal proposition

was not “a legal certainty” because it had not been recognized “in any previously decided case”).

       Second, Defendants provide no rationale for why the prior existence of common law

trademarks should make any difference. They merely claim that common law trademark rights




32
        The Class previously dismissed Defendants’ common law trademark arguments as baseless
and contrary to Topco. Class Br. At 17-18, USCA 11 Case: 18-90020 (7/2/18). Thus, even the
proponents of the settlement disagree as to whether it is “clear” or “certain” that per se rule applies
or that Topco is distinguishable.
                                                  26
were previously owned by individual Defendants and then blithely conclude that their market

allocation is “plainly” beyond the reach of Topco’s per se rule. ECF 2869 at 10. As previously

noted by the Class, “there is no hint in Sealy or Topco that the historical origin of the trademarks

was in any way relevant to the analysis.” Class §1292(b) Br., USCA11 Case: 18-90020 (7/2/18)

at 18. Furthermore, the undisputed evidence shows that in many territories, no Defendant ever

owned exclusive common law trademark rights that could be transferred to anyone; and, this Court

has already held that “the validity and/or enforceability of the [common law] marks” is in doubt.

308 F. Supp. 3d at 1251-53, 1265. In addition, the Provider Class has credibly argued that any

common law rights that might have existed prior to the formation of BCBSA were abandoned long

ago. ECF 2747 at 10-12. Defendants cannot reasonably ask this Court to conclude that pre-existing

common law trademark rights “clearly” save them from the per se rule when the existence of those

common law rights is credibly disputed and in doubt.

       Third, Defendants’ contention that their group control of the BCBSA license terms merely

codifies common law trademark rights is demonstrably false. Common law trademark rights allow

the holder to exclude others from using the mark in a defined territory. The BCBSA licenses,

however, do far more. They include an agreement among Defendants to mutually refrain from

competing against another Blue, even when it comes to providing service to a national account

with covered lives in its own territory. 308 F. Supp. 3d at 1269. There is no common law

trademark right that would allow a group of horizontal competitors with no ongoing disputes over

trademark territories to collectively agree that all of them would refrain from entering each other’s

territory, much less refrain from competing against each other inside its own territory.33 See ECF



33
       Defendants’ reliance on Clorox Co. v. Sterling Winthrop, Inc., 117 F.3d 50 (2d Cir. 1997),
and 1-800 Contacts, Inc. v. FTC, 1 F.4th 102 (2d Cir. 2021), is misplaced. As the Opt-Outs
previously pointed out (ECF 2830 at 5-12), where an individual trademark holder and an alleged
                                                 27
2830 at 8-12.

        Fourth, Defendants argue that trademark rights are not exclusionary and do not prevent a

competitor from competing under a different mark. ECF 2869 at 6. This argument is refuted by

Topco. There, Defendants did not agree to refrain from entering each other’s territories with non-

Topco brands. They only agreed not to compete against each other using the Topco marks. This

is also true of Sealy, where the Defendants could sell “non-Sealy products in any geographic

market they chose.” 308 F. Supp. 3d at 1260. Contrary to Defendants’ argument, the Supreme

Court did not hold that the elimination of Topco v. Topco or Sealy v. Sealy competition was not

exclusionary or anticompetitive. Rather, it held the conduct was a naked restraint and per se

unlawful in both cases. Topco and Sealy are controlling, and Defendants cannot escape their

holdings.

   V.       The Significance of Delta Dental

        The Opt-Outs have argued in these proceedings and continue to believe that Defendants’

going-forward market allocation is per se illegal. Defendants disagree. The merits of that dispute,

however, can and should be left for another day. This is especially true as Defendants themselves

have argued that “there is a substantial ground for difference of opinion among courts” as to

whether their market allocation “in isolation or in aggregation” violates the per se rule and that

“this is not a case” where the resolution of the per se issue “is so clear” because “there is room for

a difference of opinion on that issue.” In re Blue Cross Blue Shield Antitrust Litig., No. 2:13-CV-



infringer are separate economic actors and each exercises its own independent decision-making
with regard to an actual trademark dispute, the group decision-making that is prohibited by
American Needle, Inc., 560 U.S. 183, is absent. However, where, as here, a horizontal group of
separate economic actors join together “such that the agreement deprives the marketplace of
independent centers of decision-making …” an actionable horizontal agreement is present. 560
U.S. at 195-96 (quotation omitted); see also Tr. I-137; ECF 2812-19 at 17-20.


                                                 28
20000-RDP, 2018 WL 3326850, at *1, *3 (N.D. Ala. June 12, 2018).34             Under that view, the

Bennett test is satisfied; the proposed settlement can be approved; and the merits of the per se

claim left for another day. 737 F.2d 982.

       If the Court disagrees and believes it is appropriate in the context of the settlement approval

process to decide the merits of the per se claim, then we respectfully and reluctantly request that

the Court hold the going-forward conduct is per se unlawful. Although such a result would

unfortunately preclude approval of the settlement, we believe it would be the correct result. This

is especially true in light of the recent decision in In re Delta Dental Antitrust Lit., 484 F. Supp.

3d 627 (N.D. Ill. 2020). There, each of 39 dental insurers were licensed by an association they

jointly controlled to use the Delta Dental mark in an exclusive territory. Just as the Blues have

done, the Delta Dental defendants agreed that “none would sell … dental insurance outside of its

own allocated territory.” Id. at 631, 633. Plaintiffs alleged a per se violation, and the Defendants

moved to dismiss – making the same arguments and citing the same cases as the Blues do here.

The court denied the motion and held that the allegations “articulate a viable per se violation.” Id.

at 638. The court rejected the contention that the per se rule was subject to the justification that

the conduct was “necessary ‘to compete more effectively.’” Id. at 634. The court based its

decision on Topco’s holding that market allocations “are naked restraints that violate[] the

Sherman Act per se.” Id. at 634.

       Delta Dental also addressed the argument that the per se rule was inapplicable because the

agreement created a new product, holding that defendants would have to prove that fact. Id. at

635. That holding is of no aid to the Blues. This Court has already found that Defendants’ market




34
       As the Court and parties recognized at the Fairness Hearing, this was one of the reasons
why the parties settled. See, e.g., supra note 23.
                                                 29
allocation does not produce a new or unique product. 308 F. Supp. 3d at 1270. Delta Dental also

rejected defendants’ reliance on BMI and NCAA, holding that the exception to the per se rule

recognized in those cases applies only when the agreement “is necessary to market the product at

all.” 484 F. Supp. 3d at 635. That exception to the per se rule is unavailable to the Blues, as this

Court has already found that “the market allocations at issue are not necessary to market, sell or

produce health insurance” or to market “insurance products at all.” 308 F. Supp. 3d at 1270-71.

        The Class futilely tries to distinguish Delta Dental. ECF 2868 at 4-6. First, it claims that

Delta Dental has no significance because it was a ruling on a motion to dismiss. The facts alleged

in Delta Dental, however, are in all material respects the same as the undisputed facts in this case,

and Delta Dental holds those facts state a per se violation. Second, the Class claims Delta Dental

is distinguishable because it addresses both the per se rule and the rule of reason, which were

alleged in the alternative. How this “distinguishes” Delta Dental is a mystery. Delta Dental

clearly held that the facts alleged stated a per se violation. That holding is in no way diminished

by a ruling that those facts also state a rule of reason violation.35

        The Opt-Outs recognize that Delta Dental is not binding on this Court. It is, however,

directly on point and strongly cautions against reaching the opposite result requested by

Defendants – especially when it is not necessary to decide that issue at the present time. If,

however, the Court decides to resolve the per se issue at this time, then Delta Dental strongly




35
         Class counsel in this case also represent the class in Delta Dental, and there argued:
“defendants’ market allocation mechanism is per se unlawful;” defendants cannot “point to any
authority supporting their position that a naked territorial restraint should be considered under the
rule of reason;” and “efforts to explain Blue Cross are unavailing.” ECF 276, Case: 1:19-cv-06734
(N.D. Il.) (5/14/20) at 16, 22, 29-30.


                                                   30
counsels that Defendants are wrong and that the going-forward market allocation is per se illegal.36

                                            Conclusion

       For all the foregoing reasons, the Opt-Outs respectfully request that the Court include in

any final settlement approval order the following clarifications and holdings:

       1.      The Court clarify the final sentence of its proposed language so that it reads:
               “However, the injunctive relief pursued by a Rule 23(b)(3) opt out may not
               infringe….”

       2.      The Court confirm that its reference to “the Rule 23(b)(2) indivisible injunctive
               relief” refers to relief in the Settlement Agreement that enjoins defendants from
               conduct that is causing harm to the entire class.

       3.      The Court affirm its statements during the Fairness Hearing that opt-outs are not
               releasing or waiving any claim.

       4.      The Court refrain from deciding whether Defendants’ going-forward market
               allocation is per se illegal.


Dated: December 8, 2021               Respectfully submitted,

                                       s/ Paul E. Slater    _____________________
                                      Paul E. Slater
                                      Joseph M. Vanek
                                      David P. Germaine
                                      Eamon P. Kelly
                                      SPERLING & SLATER, P.C.
                                      55 West Monroe Street, Suite 3200
                                      Chicago, Illinois 60603
                                      Tel: (312) 641-3200
                                      Email: pes@sperling-law.com
                                              jvanek@sperling-law.com
                                              dgermaine@sperling-law.com
                                              ekelly@sperling-law.com

                                      Counsel for Alaska Air Group, Inc.; Alaska Airlines, Inc.;


36
        The class previously agreed with this position and argued that “horizontal agreements
allocating exclusive geographic territories among actual or potential competitors are per se illegal”
under Topco, Sealy and Palmer, and Defendants’ conduct “is indistinguishable from the
geographic market division condemned in Topco and Sealy as unlawful per se.” Class § 1292(b)
Br., U.S.C.A.11 Case: 18-90020 (7/2/18) at 10.
                                                 31
Alaska Airlines, Inc. Welfare Benefit Plan; Alaska Air
Group, Inc. Welfare Benefit Plan; Horizon Air Industries,
Inc.; Horizon Air Industries, Inc. Welfare Benefit Plan;
Employee Benefit Plan for Employees of Horizon Air
Industries, Inc.; Employee Benefit Plan for Full-Time and
Part-Time Employees Horizon Air Industries, Inc.; Big
Lots, Inc.; Big Lots Associate Benefit Plan; Conagra
Brands, Inc.; ConAgra Foods, Inc. Welfare Benefit Wrap
Plan; FedEx Corporation; FedEx Group Health Plan;
FedEx Corporation Retiree Group Health Plan; The
Federal Express Corporation Group Health Plan for
Pilots; Federal Express Corporation Retiree Group Health
Plan for Pilots; Federal Express Corporation Retiree
Group Health Plan; Federal Express Corporation; FedEx
Freight, Inc.; The Federal Express Corporation Group
Health Plan; The FedEx Corporation Group Health Plan;
Kellogg Company; Kellogg Company Welfare Benefit
Plan; Kellogg Company Retiree Benefit Plan; McLane
Company, Inc. McLane Company, Inc. Welfare Plan;
Meijer Inc. including its affiliates Meijer Great Lakes LP,
Meijer Stores LP, and Town Total Health LLC; Meijer
Health Benefits Plan; Publix Super Markets, Inc.; Publix
Super Markets, Inc. Group Health Benefit Plan; United
Natural Foods, Inc., including its affiliates SUPERVALU,
INC.. and Unified Grocers, Inc. (“UNFI”); UNFI Health
and Welfare Plan; United Natural Foods Employee Benefit
Plan; SUPERVALU Group Health Plan; SUPERVALU
Retiree Benefit Plan; Unified Grocers, Inc. Retiree Medical
Plan; Indiana/Kentucky/Ohio Regional Council of
Carpenters Welfare Fund; Ohio Carpenters Health Fund;
SEIU Local 1 & Participating Employers Health Trust;
SEIU Local 1 & Participating Employers Health Trust –
Plan 1; SEIU Local 1 & Participating Employers Health
Trust – Plan 3; The Local No. 1 Health Fund; Plumbers’
Welfare Fund, Local 130, U.A.; The Sheet Metal Workers
Local 73 Welfare Fund; Chicago Painters and Decorators
Welfare Fund; Chicago Painters and Decorators Retiree
Welfare Fund; The Carpenters and Joiners Welfare Fund;
Heartland Health & Wellness Fund; GuideStone Financial
Resources; Guidestone Group Plan; Guidestone Personal
Plan; Church Pension Group Services Corporation;
Episcopal Health Plan; Episcopal Health Plan for
Qualified Small Employer Exception; General Board of
Pension and Health Benefits of the United Methodist
Church d/b/a Wespath Benefits and Investments; UMC
Benefit Board, Inc.; Employee Health Benefit Trust of the

         32
United Methodist Church; HealthFlex Plan; Concordia
Plan Services; Concordia Health Plan; Portico Benefits
Services (the Evangelical Lutheran Church in America’s
benefit board);ELCA Medical and Dental Benefits Plan;
Christian Brothers Services (a church plan benefits board
created by the Christian Brothers religious order);
Christian Brothers Employee Benefit Trust; The Board of
Pensions of the Presbyterian Church U.S.A.; The Benefits
Plan of the Presbyterian Church (U.S.A.)

By: /s/ Phillip F. Cramer
Phillip F. Cramer
J. Scott Hickman
Eric G. Osborne
Sherrard Roe Voigt & Harbison, PLC
150 3rd Avenue South, Suite 1100
Nashville, TN 37201
Tel: (615) 742-4200
Fax: (615) 742-4539
Email: pcramer@srvhlaw.com
        shickman@srvhlaw.com
        eosborne@srvhlaw.com

Counsel for The Boeing Company; The Boeing Company
Master Welfare Benefit Plan; Bridgestone Americas, Inc.;
Bridgestone Americas, Inc. Employee Group Insurance
Plan; Bridgestone Americas, Inc. Retiree Medical Plan;
Dollar General Corporation; Dollar General Health Plan
(a component of the Dollar General Corporation Employee
Benefits Plan); FedEx Corporation; The Federal Express
Corporation Group Health Plan; The FedEx Corporation
Group Health Plan; FedEx Group Health Plan; The FedEx
Corporation Retiree Group Health Plan; The Federal
Express Corporation Group Health Plan for Pilots;
Federal Express Corporation Retiree Group Health Plan
for Pilots; Federal Express Corporation Retiree Group
Health Plan; Federal Express Corporation; FedEx Freight,
Inc.; Tractor Supply Company; Tractor Supply Company
Medical Plan


By: /s/ Jason A. Zweig
Jason A. Zweig
Keller Lenkner LLC
150 N. Riverside Plaza, Suite 4270
Chicago, IL 60606

         33
Tel: (312) 216-8667
Email: jaz@kellerlenkner.com

Counsel for Alaska Air Group, Inc.; Alaska Airlines, Inc.;
Alaska Airlines, Inc. Welfare Benefit Plan; Alaska Air
Group, Inc. Welfare Benefit Plan; American Electric
Power Service Corporation; American Electric Power
System Comprehensive Medical Plan; Horizon Air
Industries, Inc.; Horizon Air Industries, Inc. Welfare
Benefit Plan; Employee Benefit Plan for Employees of
Horizon Air Industries, Inc.; Employee Benefit Plan for
Full-Time and Part-Time Employees Horizon Air
Industries, Inc.; Big Lots, Inc.; Big Lots Associate Benefit
Plan; Burlington Northern Santa Fe LLC; Burlington
Northern Santa Fe Group Benefits Plan; Burlington
Northern Santa Fe Corporation Welfare Benefits Trust;
FedEx Corporation; The Federal Express Corporation
Group Health Plan; The FedEx Corporation Group Health
Plan; FedEx Group Health Plan; FedEx Group Health
Plan; FedEx Corporation Retiree Group Health Plan; The
Federal Express Corporation Group Health Plan for
Pilots; Federal Express Corporation Retiree Group Health
Plan for Pilots; Federal Express Corporation Retiree
Group Health Plan; Federal Express Corporation; FedEx
Freight, Inc.; McLane Company, Inc.; McLane Company,
Inc. Welfare Plan


     By: /s/ William Blechman
William J. Blechman, Esquire
Samuel J. Randall, Esquire
KENNY NACHWALTER, P.A.
1441 Brickell Avenue, Suite 1100
Miami, Florida 33131
Tel:                 (305) 373-1000
Fax:                 (305) 372-1861
E-mail:                      wblechman@knpa.com
                             srandall@knpa.com

Counsel for Albertsons Companies Inc., New Albertsons
L.P., Albertson’s LLC, New Albertson’s Inc., and Safeway
Inc..; Albertsons Companies, Inc. Health and Welfare Plan,
f/k/a Albertson’s LLC Health & Welfare Plan; New
Albertson’s Inc. Health and Welfare Plan; Hy-Vee Inc.;
Hy-Vee and Affiliates Benefit Plan and Trust; The Kroger
Co., 84.51 LLC, and Murray’s Cheese LLC; The Kroger
Co. Health and Welfare Benefit Plan; 84.51, LLC Health &

          34
Welfare Plan; Walgreen Co.; Walgreen Health and Welfare
Plan (Plan No. 501) f/k/a Walgreen Major Medical
Expense Plan

/s/ Jay M. Ezelle
Jay M. Ezelle (ASB-4744-Z72J)
H. Thomas Wells, III (ASB-4318-H62W)
Benjamin T. Presley (ASB-0136-I71P)
STARNES DAVIS FLORIE LLP
100 Brookwood Place, 7th Floor
Birmingham, AL 35209
jme@starneslaw.com
htw@starneslaw.com
btp@starneslaw.com




        35
